342 F.2d 998
    AMERICANA LANES, INC., Appellant,v.BRUNSWICK CORPORATION, Appellee.In the Matter of Americana Lanes, Inc., Debtor.
    No. 370.
    Docket 29363.
    United States Court of Appeals Second Circuit.
    Argued March 9, 1965.
    Decided April 6, 1965.
    
      Appeal from judgment and order of the United States District Court for the Eastern District of New York, Joseph C. Zavatt, J., reversing bankruptcy referee's denial of reclamation petition of conditional vendor.
      Bennett E. Aron, West Hempstead, N. Y., for appellant.
      Frederick Newman, New York City (Blumberg, Singer, Ross &amp; Gordon, New York City, on the brief), for appellee.
      Before SMITH and MARSHALL, Circuit Judges, and DOOLING, District Judge.*
      PER CURIAM:
    
    
      1
      Americana Lanes, Inc., debtor in possession, appeals from a judgment and order entered in the United States District Court for the Eastern District of New York, Joseph C. Zavatt, Chief Judge, reversing an order of a referee in bankruptcy denying a reclamation petition of Brunswick Corporation, conditional vendor of bowling alleys and equipment, for failure to file under Sec. 66-a of the New York Personal Property Law, McKinney's Consol.Laws, c. 41, an extension agreement, and granting the reclamation petition. We affirm the judgment and order of the District Court on the reasoned opinion of Chief Judge Zavatt, 234 F.Supp. 854 (E.D.N.Y.1964).
    
    
      
        Notes:
      
      
        *
         Sitting by designation
      
    
    